In the United States District Court
For the Middle District of North Carolina

 

Brian David Hill
Petitioner,

v Criminal Action No. 1:13-CR-431-1

United States cf America Civil Action No. 1:17-CV-1036

Respondent.

PETITIONER’S MOTION FOR REQUESTING
PSYCHOLOGICAL/PSYCHIATRIC EVALUATION TO DETERMINE
ACTUAL INNOCENCE FACTOR UNDER FALSE CONFESSION
ELEMENT AND TO RESOLVE THE CONTROVERSY/CONFLICT
BETWEEN GOVERNMENT AND PETITIONER OVER “DELUSIONAL
DIS()RDER”

MOTION AND BRIEF IN SUPPORT OF THIS REQUEST

NOW COMES the Petitioner, by and through Brian David Hill (“Brian D. Hill”,
“Plaintift” or “Hill”), that is acting pro se and is proceeding pro se before this Honorable
Court in the Middle District of North Carolina, and hereby respectfully moves to request
that this Court is to order a mental evaluation in support of proving Petitioner’s actual
innocence claims of (1) false confession and (2) for resolving a
controversy/contiict/dispute over the Wrongful diagnosis of “delusional disorder”. The

Petitioner has good legal arguments, evidence, and reasons as to Why the

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Respondent’s/Govennnent’s arguments against Petitioner regarding his actual innocence
fact of false confession and in regards to “delusional disorder” are Wrong and are in the
case of controversy. The only way to resolve the case of controversy and disputes
between the Government/Respondent and Petitioner is for the Court to order an
independent mental examination/evaluation to conduct a “Forensic Psychology”

evaluation of Petitioner to Write a psychiatric/mental evaluation report in regards to the

issues of controversy raised in this case.

Legal Authority: This motion and brief in support of such motion are pursuant to Rule
121 “Applicability of the Federal Rules of Civil Procedure and the F ederal Rules of
Criminal Procedure” of the “Rules Governing Section 2254 and 2255 cases”, Rule
12.2: “Notice of an Insanity Defense; Mental Examination” of the F ederal Rules of
Criminal Procedure, and Rule 35 : “Physical and Mental Examinations” of the

F ederal Rules of Civil Procedure, Petitioner in this case r_es_pectfulllv§ggsts that
this Honorable Court order an mental evaluation in tghiis case prior to the Judge
making a final decision on the Petitioner’s 2255 Motion (See Document #125) and
2255 Brief(See Documents #128, #128-1, #128-2, #131, #132, #133, #134), the
Government’s Motion to dismiss Petitioner’s 2255 Motion (See Document #141),
Petitioner’s Motion for Leave to submit additional evidence (See Document #144

and #145), and Government’s Motion for pre-filing injunction (See Document

#148 and #149).

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ADDITIONAL REQUEST TO THE COURT: There is another important issue that
is pertinent to whether the Court will grant this motion, so another motion will be
added to this motion pleading. Petitioner requests that the second motion inside of
this first motion also be considered, asking that the Court rules on this Motion as
two Motions as the Court of Appeals has set that Courts can rule on motions

liberally from pro se filers. Thank You!

The facts and circumstances Which support such a request to the Court are as

follows:

]. Petitioner has documented mental health conditions such as Autism
Spectrum Disorder (“ASD”), Obsessive Compulsive Disorder (“OCD”),
Generalized Anxiety Disorder (“GAD”), and a serious physical disability
that is life-threatening Without diabetic insulin Which is Type l Brittle
Diabetes: Mellitus.

2. Petitioner had originally been evaluated by Dr. Dawn Graney (See
Document #17, “Psychiatric Report”) over competency, and was
evaluated by Dr. Keith Hersh (See Document #23, “Psychiatric Report”)
over the psycho-sexual evaluation and risk assessment

3. The Respondent has made claims as to Petitioner’s mental health and
neurological mental health issue (Autism Spectrum Disorder) in their

Motion to dismiss Petitioner’s 2255 Motion (See Document #141, Page

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10 of l4) in opposition to Petitioner’s actual innocence claims. Stating
that “Petitioner attempts to explain this exchange as follows.' “Defendant
exhibited a sophisticated form of echolalia which means he repeated
what was already described to him by Police. ” [DE #125, 4]. A sealed
report of forensic evaluation contains a single mention ofPetitioner and
echolalia, from a much-earlier evaluation [DE #] 7 at 7, “Collateral
Sources Account ”]” and “T he dialogue quoted above demonstrates a
series of questions and cogent answers, and in no way demonstrates
echolalia.” Petitioner objected to the Government's argument in
Document #143, Filed 01/26/18, Pages 50 to Page 54 of 86. That
essentially shows that the Respondent either contends to, rejects to, or
agrees to a certain extent that Petitioner has injected his documented
mental health condition into the case as a basis for the actual innocence
claim for § 2255 relief.

. Respondent has further argued Petitioner’s mental health controversies in
their Motion (Document #148) and/or their Memorandum for Pre-filing
Injunction (Document #149) stating that “Petitioner ’s mental condition
has been found to be related to the content and volume of his court filings
(DE # 23,' # 33 (PSR) at 14-]5,‘ see also Petitioner ’s rejection of this.' “I

do not recognize the wman diagnosis of “delusional disorder ” by Dr.

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Keith Hersh... ” (DE # 13 7 at 3 (not filed under seal) (emphasis addeaD),‘
see also Tr. ofMot. Hr’g, Sept. 3, 2014 (DE # 114 at 19-20) (colloquy
between counsel for Petitioner and the Court)” (Document #149, Page 8
of 20) and “. . .besmirch his perceived oppressors, consistent with the
diagnosis that Petitioner denies he suj"ersfrom.” (Document #149, Page
10 of 20).

5. Petitioner had filed another pro se pleading in 2015 also challenging the
diagnosis of “delusional disorder” titled the Document #80 “MOTION by
BRIAN DA VID HILL to Strike and Rule out Psychiatric Diagnosis.
(Attachments: # (1) Exhibit A, # (2) Exhibit B, # (3) Exhibit C, # (4)
Exhibit D, # (5) Exhibit E, # (6) Envelope)(Daniel, h (ExhibitE replaced
with correct image on 4/28/2015) (Daniel, J). (# (7) Exhibitli) (Daniel,
J)” however Petitioner at the time didn’t filed it under an active statutory
remedy to authorize such action. However it further proves that for years
Petitioner has still till this day did not recognize the diagnosis of
“delusional disorder”.

6. Both court appointed lawyers John Scott Coalter and Eric David Placke
(“Mr. Placke”) did not request a mental evaluation to make a
determination on the actual innocence factor of “false confession” and

how Autism Spectrum Disorder (“ASD” or “Autism”), Obsessive

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Compulsive Disorder (“OCD”), and Type l Brittle Diabetes applies to
Petitioner’s affirmative defense of frame up or just simply apOplies to the
facts of actual innocence. Mr. Placke the First Assistant F ederal Public
Defender for the Middle District of North Carolina only requested a
mental evaluation on competency Which is ineffective as Petitioner had
owned and operated USWGO Alternative News which the intellectual
buildup of such website proves competency, and a mental evaluation of
psycho-sexual behavior and risk assessment No mental evaluator has
addressed the concerns regarding the wronglill diagnosis of “delusional
disorder” and whether it may have been correctly applied at the time such
diagnosis was made. No mental evaluator in this whole criminal and civil
case has addressed the psychological factors of “false confession” and
misleading statements, “false guilty plea” and the relevance of how
Autism and OCD applies to it.

. ln Petitioner’s 2255 Brief (See Documents #128-1, #128-2, and #128) as
a memorandum that is part of Petitioner’s 2255 Motion (See Document
#125), Petitioner stated in Document #128, Pages 90 through 92 that “ V1.
Reauesting an lndependent Psychological Expert and Medical Doctor to
grovide expert witness testimony for the valid reason as to why there was

a False Guiltv Plea that was entered on June 1 O, 2014, as to Defendant

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giving a false confession on August 29, 2012, and how the Defendant's
health plays a role in actual tnnocence”. So this is one of the actual
innocence issues that haven’t been acknowledged by the Government in
their motion to dismiss Petitioner’s 2255. The case should not be
dismissed yet until the actual innocence issues of false confession and
false guilty plea should be addressed Since that is part of Petitioner’s
original 2255 Motion and Brief, it shouldn’t be treated as though it
doesn’t apply to Petitioner’s actual innocence claim that is not subject to
the one (l) year statute of limitations

. Petitioner had decided that since the Respondent’s/Government’s Motion
to Dismiss and the claims of Petitioner’s filing behavior being “consistent
with the diagnosis that Petitioner denies he sujj‘ersfrom” which would
point to “delusional disorder”, and since the Respondent is ignoring the
false confession of Petitioner being a factual innocence claim, that
Petitioner started contacting by faxing “Forensic Psychologists” around
the Durham area of North Carolina. Petitioner wants to finds a forensic
psychologist that is within the city or near the city of the F ederal
Courthouse which the evaluator can testify as cheaply as possible (car
gas, travel distance expenses) in conducting an independent mental

evaluation to make a determination on the wrongful diagnosis of

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“delusional disorder” and false confession as caused by ASD and OCD.
Petitioner has sought on his own merits, a psychological expert that can
conduct a forensic mental health evaluation on factors that have never
been presented to the U.S. District Court since Petitioner’s criminal
charge by the Grand Jury (Document #l).

. Petitioner’s claim of false confession is a FACT of actual innocence,
because according to the Grand Jury Indictment (See Document #l) “@
or about August 29, 2012, in the County ofRockingham, in the ltdiddle
District ofNorth Carolina, BR]AN DA VYD HILL did knowingly possess
materials which contained child pornography . .” That Was the day that
Petitioner gave his false confession That means a large portion of the
whole basis of the criminal charge against Petitioner is the “false
confession” element Document #19 further shows that the Respondent’s
claimed FACT of guilt was shown in the factual basis of guilt regarding
Petitioner, the document stating that “In a consensual non-custodial
interview the following day, HILL admitted knowingly seeking and
rmssession child pornogranhv”. Petitioner proving false confession also
proves that FACTUAL BASIS of guilt is incorrect and fraudulent, which
is the Government/Respondent committing “fraud on the court” since the

Respondent’s own discovery materials given to Mr. Placke, Which

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Petitioner wasn’t able to entirely review and inspect until January 22,
2015 after final conviction on November 12, 2014 (See Supplement #4).
lt is fraudulent because it was already explained that Petitioner made
claims during the interview/interrogation that did not match the
questionable forensic report by the North Carolina (“N.C.”) State Bureau
of Investigation (“SBI”) as already highlighted in the Petitioner’s 2255
Brief and Memorandum A few examples are how Petitioner was charged
with child pornography of a prepubescent minor that had not attained the
age of twelve (12) years of age and the keyword age numbers varying
which shows that the Petitioner’s statement of “12 to 13 year olds” was
contradictory and is false or did not match the forensic report claims The
Petitioner’s claim of downloading child porn for “About a year or so”
when the download dates of the N.C. SBI report show that that analysis
of server.met revealed that it was between the dates of “July 20, 2012,
and July 28, 2013.” Since the computer equipment was seized on August
28, 2012, it proves that for eleven (11) months “files of interest” which
may be or not be actual child pornography had downloaded while in the
custody of the N.C. SBI and Town of l\/layodan (“Mayodan”) Police
Department. If for whatever reason the download year may have been

mistyped, then 454 files had only downloaded for 8 days in July of 2012,

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and then a month went by without any “files of interest” that may or may
not be actual child pornography before Mayodan Police Department
showed up for the police raid which does not match a pedophile but more
of matches an unusual activity for a so-called predator that Detective
Robert Bridge talked about in hit Affidavit in the Search Warrant. So that
confession statement was false. The statements of` “PTSC” and “PTHC”
being repeated by the police detectives in both their police report and
search warrant Affidavit by Detective Bridge, the Petitioner had been
exposed to such words describing sexual conduct and description of what
child pornography was prior to giving the false confession a day later.
Delayed echolalia as part of Petitioner’s Autism explained why Petitioner
had uttered the words of “PTSC” and “PTHC”. As the entire confession
is cross examined, the confession has holes thrown into it like Swiss
cheese. It is not a solid genuine confession but a confession that was
making statements that didn’t even match the forensic claims. False
confessions and misleading statements as caused by Autism according to
Dennis Debbaudt. When a confession does not match the forensic claims
like in the 9th Circuit U.S. Court of Appeals review of the false
confession of Michael Crowe, even his confession was coerced out of

false claims by Detectives that his sister’s blood was found in Michael

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Crowe’s room, then he gave false confession statements which were later
thrown out of court as false confession statements When Petitioner’s
false confession statements do not match the forensic case facts, then it is
a proven “false confession” and-is a FACT of actual innocence, since the
“confession” is one of the major elements of Petitioner’s guilt and
criminal charge by the Grand Jury.

lO.Petitioner has received a proposed contract (See Supplement #l) of a
forensic psychologist business that has agreed to appoint a “mental
evaluator” for Petitioner’s actual innocence case of his 2255 Motion with
a full-battery fee that is to pay for the evaluation that was requested in the
original letter (See Supplement #2) asking for an lndependent Forensic
Psychologist for the elements of “false confession” and whether
“delusional disorder” was a validly given diagnosis

11.Petitioner cannot afford the fees that could exceed over $2,550 since they
would not offer this service under that price as a flat fee. However the
full-battery fee should cover all details of the original request for an
evaluation on false confession which the issue was covered by
Petitioner’s 2255 brief, false guilty plea which the issue was covered by
Petitioner’s 2255 brief, and to make a determination on whether

“delusional disorder” shall be ruled out as a invalidly given diagnosis

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based on mental heal.th factors and the situation at the time such
diagnosis was given. Petitioner cannot afford the costs of proving
innocence but such mental evaluation is necessary for proving the factual
element of “false confession” which is a FACT of actual innocence since
a portion of` the basis regarding Petitioner’s guilt was based on his false
confession and charge that he “knowingly possessed materials which
contained child pornography”. Proving false confession and showing
good psychological factors why his guilty plea is false as well as
ineffective counsel is a FACT of actual innocence lt means that the
Government no longer has a basis for a conviction since the Petitioner
did not admit to anything involving illegal child pornography with a
proven “false confession” and did not admit to knowingly possessing
such materials Petitioner is going to ask this Honorable Habeas Court to
consider a CJA 21 Voucher asking the Court to compel the Government
to pay for a mental health expert to conduct a psychological evaluation to
write a report for the Court to consider prior to making a final
determination on dismissing or not dismissing the Petitioner’s 2255
Motion. Petitioner had attempted to persuade a third party to agree to pay
a fixed amount for the mental evaluation but the proposed contract does

not seem to agree to a flat rate but instead is of a full-battery which

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means additional fees can be applied and enforced which the Petitioner
doesn’t have the ability to pay under his Social Security Disability
income. This would make the Petitioner be held liable for additional fees
that cannot be paid for. lf` the Respondent/Government demands cross
examination or deposition, then the Petitioner can be held to be billed for
those costs that cannot be paid for by Petitioner due to his limited-income
as reported in the application for In Forma Pauperis status, which his IFP
status is still accepted by the Court. Therefore the Criminal Justice Act
vouchers can apply in this case. lt is a very complex case and Petitioner
cannot afford the fees in Lepage Psychological and Psychiatric Services
Contract and Fee Agreement for the mental examination Full Battery
does not have a limit or cap, and thus additional fees can be charged in
the complexity of this Habeas Corpus case, especially with the audio file
of the 1-hour long interview/interrogation of Petitioner at Mayodan
Police Department, N.C. State Bureau of Investigation case file (forensic
report), Mayodan Police Department report, Search Warrant Af`fidavit,
police photographs Pre-sentence Investigation Report, and all of the
other relevant discovery records in this case.

12.The Petitioner’s mental health plays a very important role in determining

the Petitioner’s FACTS of ACTUAL INNOCENCE, plays a very

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important role in what led up the Govemment’s Motion for Pre-Filing
lnjunction, and misinterpretation of Petitioner’s Autism Spectrum
Disorder as abusive or caused behaviors that are unexpected from a Pro
Se Plaintiff/Petitioner. Behaviors that would normally have been
protected under the Americans with Disabilities Act (“ADA”) if the ADA
had ever applied to the Federal Buildings, had Congress ever amended
the ADA to have been applied to F ederal Courts. Before the
Government’s Pre-Filing lnjunction motion should even be considered,
this mental evaluation can cover the FACT of actual innocence regarding
the (1) false confession element which contradicts the Government’s
FACT of guilt regarding the August 29, 2012 confession, (2) that the
conflict and controversy regarding “delusional disorder” be resolved
while the 2255 Motion and case is still pending, and (3) that the mental
evaluation also help the Court to better understand why the Petitioner had
filed a large number of pages and pro se filings and the
mental/neurological health issues that should be taken into account
before just simply deciding or granting or denying the

Government’s/Respondent’s Motion for Pre-Filing lnjunction.

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STANDARD OF REVIEW/ STANDARDS FOR MENTAL EXAMINATIONS

The “Rule 35. Physical and Mental Examinations” of the Federal Rules of Civil
Procedure, as approved by the Judiciary Cornmittee, grants federal courts authority to
issue orders for mental evaluations FRCP Rule 35(a)(1) excerpt: “. . .where the action is
pending may order a party whose mental or physical condition_including blood group_
is in controversy to submit to a physical or mental examination by a suitably licensed or
certified examiner. The court has the same authority to order a party to produce for
examination a person who is in its custody or under its legal control.” lt also states that
FRCP Rule 35(a)(2) excerpt: “Motion and Notice; Contents ofthe Order. The order: (A)
may be made only on motion for good cause and on notice to all parties and the person to
be examined; and (B) must specify the time, place, manner, conditions, and scope of the
examination, as Well as the person or persons who will perform it.” Since the Petitioner is
filing this motion, supplements, and all relevant information and documentation with the
Clerk who files it via CM/ECF, the Notice of Electronic Filings (“NEF”) should be
sufficient for NOTlCE to the other party in this case. The time and place has not yet been
determined as the evaluation cannot be started without an order from the Court approving
of the use of such evaluation for this case. The scope of the examination has already been

brought up in this pleading and in the supplements supplied in attachment to this

pleading The conditions of this examination can be determined by the Court.

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ln the case law of ANGELA JOHNSON v. UNITED STATES, even though in a
different Circuit, has established that mental examinations are accepted for § 2255
cases where such mental examination is necessary in regards to addressing an issue
raised in a 2255 Motion. Since in Petitioner’s case, such mental evaluation is
necessary for demonstrating actual innocence in regards to the psychological
factors of (#1) false confession and the delayed echolalia as cause for repeating the
terms PTHC and PTSC during the interview/interrogation on August 29, 2012,
(#2) that the Petitioner has repeatedly rejected the diagnosis of “delusional
disorder” which the Respondent/Government raises as a case of controversy, (#3)
that the issue of mental health in regards to actual innocence must be addressed
prior to deciding whether to dismiss the 2255 Motion, and (#4) that mental health
issues are also at issue in regards to the Pre-Filing lnjunction and that Autism
Spectrum Disorder and Obsessive Compulsive Disorder are misinterpreted as
vexatious and harassing thus also mental health at issue in regards to whether the

Court should grant or deny the Motion for Pre-Filing lnjunction.

Johnsogv. United States (l\L_Mowa Mar. 18, 2010): “. . .The court finds that
the procedural rule that is applicable here, via § 2255 Rule 6(a), is Rule 35 of the
F ederal Rules ofCivil Procedure F ederal courts entertaining habeas proceedings
have recognized Rule 35 as the authority for mental health discovery, both in

habeas cases by state prisoners subject to § 2254 Rule 6, which only authorizes

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discovery pursuant to the F ederal Rules ofCivil Procedure, see, e.g., pizzuto v.
Hardison, 2010 WL 672 754, *1 (D. 1dah0 Feb. 20, 2010) (finding that Rule 35 of
the Federal Rules ofCivil Procedure applied, via § 2254 Rule 6(a), to the
respondent ’s request for mental examinations in the federal habeas proceedings of
a state prisoner),' Wagner v. Jess, 2009 WL 4 755281, *2 (E.D. Wis. Dec. 4, 2009)
O‘inding that Rule 35 of the F ederal Rules of Civil Procedure applied to the request
cfa habeas petitioner for physical and mental examinationsj via § 2254 Rule 6(a),
but finding that the petitioner had not shown that his mental or physical condition
was “in controversy’§,' Holt v. Ayers, 2006 WL 25067 73 (E.D. Cal. Aug. 29, 2006)
(denying the respondent ’s motion for mental examinations of a § 2254 petitioner
pursuant to Rule 35 of the Federal Rules of Civil Procedure without prejudice to a
renewal of the request addressing the requirements ofRule 35 (a) in light of the
order and deposition testimony of treating doctors), and in cases by federal
prisoners subject to § 2255 Rule 6, which authorizes discovery pursuant to both
the F ederal Rules ofCriminal Procedure and the F ederal Rules ofCivil
Procedure See, e.g., United States v. Kerr, 2005 WL 1640343, *1 (E.D. Mich. July
8, 2005) (finding that the § 2255 petitioner properly sought his own mental
examination by invoking Rule 35 (a) of the F ederal Rules ofCivil Procedure, but
finding such an examination was "unnecessary ”),' United States v. Johnson, 2003

WL 1193257, *11-*12 UV.D. lll. March 12, 2003) (although neither party cited any

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legal basis for the § 2255 petitioner ’s request to conduct psychiatric or
psychological testing Rule 35 (a) of the F ederal Rules ofCivil Procedure was
applicable and the petitioner ’s request did not comply with the requirements of
that rule),' see also Smith v. United States, 174 F. Supp. 828, 832-33 (S.D. Cal.
1959) ( in a case decided before § 2255 Rule 6 was adopted ( in 1976), holding that
it was clear that § 2255 proceedings were “civil ” proceedings and that there was
no doubt that the court could require a mental examination pursuant to Rule 35 of
the F ederal Rules ofCivil Procedure). Thus, the court turns to the standards for

mental examinations under Rule 35 of the F ederal Rules ofCivil Procedure.”
That rule provides, in pertinent part, as follows:

l. (a) Order for an Examination.

a. (l) In General. The court where the action is pending may
order a party whose mental or physical condition-including
blood group_is in controversy to submit to a physical or
mental examination by a suitably licensed or certified
examiner. The court has the same authority to order a party
to produce for examination a person who is in its custody or
under its legal control.

b. Motion and Notice; Contents of the Order. The order:

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i. (A) May be made only on motion for good cause and
on notice to all parties and the person to be examined;

and
ii. (B) must specify the time, place, manner, conditions,
and scope of the examination as well as the person or

persons who will perform it.

FED. R. CIV. P. 35(a) (emphasis added).

More than four decades ago, the United States Supreme Court considered the

validity and construction of Rule 35 in Schlagenhauf v. Holder, 379 U.S. 104

(1964). As the Court explained,

The courts of appeals in other cases have also recognized that Rule
34’s good-cause requirement is not a mere formality, but is a plainly
expressed limitation on the use of that Rule. This is obviously true as
to the ‘in controversy’ and ‘good cause’ requirements of Rule 35.
They are not met by mere conclusory allegations of the pleadings-
nor by mere relevance to the case-but require an affirmative showing
by the movant that each condition as to which the examination is
sought is really and genuinely in controversy and that good cause
exists for ordering each particular examination Obviously, what may
be good cause for one type of examination may not be so for another.
The ability of the movant to obtain the desired information by other
means is also relevant

Rule 35 . . . requires discriminating application by the trial
judge, who must decide, as an initial matter in every case, whether the

party requesting a mental or physical examination or examinations has
adequately demonstrated the existence of the Rule’s requirements of

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‘in controversy’ and ‘good cause,’ which requirements, as the Court
of Appeals in this case itself recognized, are necessarily related. 321
F.Zd, at 51. This does not, of course, mean that the movant must prove
his case on the merits in order to meet the requirements for a mental
or physical examination Nor does it mean that an evidentiary hearing
is required in all cases. This may be necessary in some cases, but in
other cases the showing could be made by affidavits or other usual
methods short of a hearing. lt does mean, though, that the movant
must produce sufficient information, by whatever means, so that the
district judge can fulfill his function mandated by the Rule.

Schlagenhauf, 379 U.S. at 118-19 (emphasis added; footnote omitted).

“ln Schlagenhauf the Court suggested that there are circumstances in which
the pleadings alone are sujj(icient to meet the "in controversy ” and “good cause ”
requirements, such as a case in which the plaintiij in a negligence action asserts
mental or physical injury and, thus, “places the mental or physical injury clearly
in controversy and provides the defendant with good cause for an examination to
determine the existence and extent of such asserted injuryl ” Id. at 119. T he Court
found that the same would be true ofa defendant who asserts his mental or
physical condition as a defense to a claim. Id. On the other hand, the Court found
that, where a party did not assert his mental or physical condition either in
support of or in defense to a claim, and his condition was only placed in issue by
other parties, Rule 35 required those parties to “make an aj‘irmative showing that
. . . mental or physical condition [of the party to be examined] was in controversy

and that there was good cause for the examinations requested ” Id. (fi`nding that

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the movants had failed to make that showing in the case before the Court).
Moreover, the Court rejected an order authorizing one examination in each of four
specialities (internal medicine, ophthalmology, neurology, and psychiatry),
because “[n]othing in the pleadings or aj‘idavit would aford a basis for a belief
that Schlagenhauf was suferingji'om a mental or neurological illness warranting
wide-ranging psychiatric or neurological examinations ” ld. at 120. T he Court
looked at the “specijic allegations ” made in support of the examinations to
determine whether or not the examinations should be ordered Id. at 121. ln short,
“[m]ental and physical examinations are only to be ordered upon a discriminating
application by the district judge of the limitations prescribed by the Rule. ” ]d. Only
slightly more recently, the Eighth Circuit Court oprpeals recognized that "[t]he
manner and conditions of a court-ordered medical examination [pursuant to Rule
35 (a) ], as well as the designation of the person or persons to conduct such an

examination are vested in the sound discretion of the trial court. ” Sanden v. Mayo

anna 495 F_2d 221, 225 (sth cia 1974)1”

 

l The Sanden decision relied on a former version of Rule 35(a) that, nevertheless,
was the same in essential content. At that time, Rule 35(a) provided as follows: (a)
Order for examination When the mental or physical condition * * * of a party * *
* is in controversy, the court in which the action is pending may order the party to
submit to a physical or mental examination by a physician * * *. The order may be
made only on motion for good cause shown and upon notice to the person to be
examined and to all parties and shall specify the time, place, manner, conditions,
and scope of the examination and the person or persons by whom it is to be made.

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“T his court also notes that the requirements ofRule 35 must be viewed, in this
habeas case, through the prism ofHabeas Rule 6. “ ‘A habeas petitioner, unlike the
usual civil litigant in federal court, is not entitled to discovery as a matter of
ordinary course Newton v. Kemna, 354 F.3d 776, 783 (8th Cir. 2004) (quoting
Bracy v. Gramley, 520 U.S. 899, 904 (1997)). Rather, Habeas Rule 6 “provides
that "[ a petitioner] shall be entitled to invoke the processes of discovery available
under the F ederal Rules ofCivil Procedure if and to the extent that, the judge in

the exercise of his discretion and for good cause shown grants leave to do so, but
not otherwise ’ ” Id. (quotingformer language ofHabeas Rule 6(a))2. Habeas Rule

6, like Rule 35 of the F ederal Rules of Civil Procedure, imposes a “good cause ”
requirement on discovery See 6(a) R. § 2255 Pro. (“A judge may, for good cause,
authorize a party to conduct discovery . . . ”),' 6(a) R. § 2254 Pro. (same). The
Eighth Circuit Court oprpeals has explained that, at least from the perspective of
the habeas petitioner, “T he ‘good cause ’ that authorizes discovery under Rule 6 (a)

requires a showing ‘that the petitioner may, if the facts are fully developed be able

 

Sanden, 495 F.2d at 225 n.6.

2 Habeas Rule 6 was reworded “as part of a general restyling of the rules to make
them more easily understood” in 2004, but “no substantive change [Wa]s
intended.” 6 R. § 2255 Pro., Advisory Cornmittee Notes, 2004 Amendments. As
noted, supra, § 2254 Rule 6(a) only authorizes discovery pursuant to the Federal
Rules of Civil Procedure, but § 2255 Rule 6(a) authorizes discovery pursuant to the
Federal Rules of Civil Procedure and the F ederal Rules of Criminal Procedure.

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to demonstrate that he is . . . entitled to [habeas] relief Rucker v. Norris, 563
F.3d 766, 771 (Sth Cir. 2009) (quoting Bracy, 520 US. at 909, with internal
quotation omitteaD,' Newton, 354 F. 3d at 783 (also quoting Bracy). Thus, the court
concluded that a state court ’s determination that the petitioner failed to show
“more than a slight chance ” that additional testing would yield a favorable result

was not “ ‘based on an unreasonable determination of the facts. ”’ ld. (quoting 28

U.s. c. § 2254@ (2)).”

“T here is no reason to suppose that a more lenient standard was intended for
discovery by the respondent in habeas cases, which is what is at issue here, where
the rule applies to authorizations for discovery by "a party ” R. § 22554 P. 6 (a).
Thus, translating the requirements ofHabeas Rule 6, as set out in Rucker, 563
F.3d at 77], to a discovery request by a respondent the court believes that the
respondent must also show “good cause "for the requested discovery and that
“good cause ” requires a showing that, if the facts are fully developed there is
more than a "‘slight chance ” that the respondent may be able to demonstrate that

the petitioner is not entitled to relief.”

The Petitioner asserts deprivation of his Sixth Amendment of the United States
Constitution regarding the right to “effective assistance of counsel” under the two-

prong test of Strickland v. Washington (1984, U.S. Supreme Court). Counsel did

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not request a specific mental evaluation to review over the discovery evidence and
interview the Petitioner over Petitioner’s false confession statements as the FACT
is that the confession statements obtained on August 29, 2012, are not matching the
claims made by Special Agent Rodney V. White of the N.C. SBI. In his forensic
case file report on suspect Petitioner. The confession statements were obtained
through coercion. Dennis Debbaudt had stated in his expert whitepaper that those
on the Autism Spectrum (See Document #132, Pages 9 through 12, Exhibit 15) can
give misleading indications of guilt and false confessions People with Autism can
hear Words mentioned at the crime scene and repeat them during an interview or
interrogation which would mislead investigators into believing that the suspect had
familiarity in regards to a criminal activity when such familiarity may not be based
on actual criminal behavior or witnesses that saw or heard of criminal behavior but
based upon what was overheard at the crime scene such as a police raid. Petitioner
was brought inside of the home multiple times during the police raid and was
exposed to words describing sexual content in an Affidavit by the Search Warrant
which the copy was served with Petitioner and his mother Roberta Hill during the
police raid on August 28, 2012. The false confession FACT can be further
determined by a psychological forensic examination It will solidify the FACT of
false confession which is a FACT of innocence since the indictment and

Government’s/Respondent’s FACTUAL BASIS of guilt concern a genuine and

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honest criminal confession If a confession is proven entirely false then the FACT
of confessing to the crime is false and instead flips to the FACT of actual
innocence since the confession was false. Any FACTS of innocence may be
entitled to relief for a § 2255 Motion beyond the one (l) year statute of limitations
Counsel was ineffective because of only requesting a mental examination for
competency and a psycho-sexual evaluation but no mental examination in regards
to any FACTS of actual innocence Counsel did fail to investigate and present
evidence for the Jury Trial that Was planned for June 10, 2014. Had Petitioner not
plead guilty under such ineffectiveness, Petitioner would have lost the Jury Trial.
Counsel did not meet with Petitioner with an intent to discuss a possible defense
for trial, and Counsel did not had anything planned for the Jury Trial except the
guilty plea agreement Counsel failed to investigate the false confession caused by
mental ailments or mental illnesses during the time of the alleged offense. That
Counsel failed to show the Court prior to Jury Trial how his mental problems
would have made him particularly susceptible to the manipulations of the police
detectives Robert Bridge and Christopher Todd Brim, thus warrants the white
paper of Dennis Debbaudt explaining false confessions and misleading statements
by those diagnosed with Autism Spectrum Disorder. Petitioner could have won the
Jury Trial by either having Counsel to suppress the false confession which would

dramatically weaken the Government’s case, or allow the false confession and use

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it as a FACT of innocence which will create a reasonable doubt into the charge of
“knowingly possessing materials which constitute child pornography”. Any fact of
innocence is far stronger than simply raising a reasonable doubt because any fact
of innocence would compel any reasonable Juror to find a criminal defendant not

guilty beyond a reasonable doubt.

Petitioner and the Respondent both accepted that Petitioner suffers from
Autism Spectrum Disorder (“ASD”), Obsessive Compulsive Disorder (“OCD”),
Generalized Anxiety Disorder (“GAD”), and Type l Brittle Diabetes. Petitioner
disagrees with Respondent on the “delusional disorder” due to very good reasons
why (Supplement #4). Since Autism is a neurological disorder and not just in the
class of mental health, it could also be labeled as a neuro-psychiatric condition.
Since both the Respondent and Petitioner are raising a controversy issue in regards
to echolalia, false confessions, and delusional disorder, it may be a case of

controversy to what is satisfied under Cf. Schlagenhauf, 379 U.S. at 119-120.

The Petitioner asserts deprivation of his Fifth Amendment of the United States
Constitution regarding the right to remain silent and to “not be compelled to be a
witness against himself”, also known as the right against self-incrimination, as weil

as the voluntary confession rule as established by the U.S. Supreme Court,

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confessions have to be voluntary and without coercion or threats Which would

eliminate the voluntariness of a confession given to a law enforcement agency.

This mental examination also can highlight the Fifth Amendment aspects to
Petitioner’s false confession in regards to coercion Petitioner had stated multiple
times throughout this case in one or more pro se filings that “F ess Up! We know
you did it, you better fess up or else your mother will be held responsible” and
claimed that the threat came from Mayodan Police Department, Chief of Police
Charles J. Caruso on August 28, 2012, That itself is a form of coercion outside of
the interview/interrogation and the false confession statements were caused by
coercion and the Petitioner’s mental health issues. That deprives the Petitioner of
his Fifth Amendment right to remain silent That also proves the FACTUAL
BASIS of GUILT to be incorrect on the claim of the confession being voluntary
even though non-custodial When Petitioner is threatened with the fear that his
mother would be charged with possession of child porn if he doesn’t admit to guilt
and thus made claims that cannot even match the forensic report by the N.C. SBl,
then the Fifth Amendment of the United States Constitution as well as actual

innocence both applies in this Habeas Corpus case.

So this mental evaluation is also in consideration of not just the confession being

false but also a byproduct of coercion therefore the U.S. Constitutional right to

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remain silent and right to not incriminate oneself is also at issue, both
Constitutionally and in the FACT of actual innocence which isn’t subject to the

one (l) year statute of limitations for § 2255 cases.

The conditions which the mental evaluation is to test is in Supplement #2. the letter

 

faxed to Lepgge Psvchological and Psychiatric Services, the conditions tested is
Autism Spectrum Disorder, Obsessive Compulsive Disorder, and the delusional
disorder to make a determination on the false confession and whether delusional

disorder was appropriately applied or Whether it should be ruled out.

Petitioner adds four 141 supplements of evidence in attachment to this motion and in

support of such motion:

1. Supplement 1: Proposed Contract and Fee Agreement by Tina Lepage -

Total of 8 pages

2. Supplement 22 Original letter that was faxed to Tina Lepage regarding a

request for a mental evaluation FAX Transmission Ticket included Total

of 5 pages.

3. Supplement 3: Proposed CJA 21 Voucher asking to pay for Expert Witness

for 2255. Total of 1 page.

4. Supplement 4: Declaration of Brian David Hill in support of this Motion.

Total of 32 pages

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All evidence in attachment is submitted in good faith. If the Court requests that the

Supplements be declared under penalty of perjury then Petitioner can file a

declaration to declare the supplement or supplements under Oath.

WHEREFORE, the Petitioner respectfully requests that the Court:

(1.) Grant this Motion for the Court to issue an order for a Mental
Examination of Petitioner Brian David Hill;

(2.) Enter an Order granting a mental examination/evaluation to
make a determination on Petitioner’s claimed false confession
which supports a fact of innocence in regards to Petitioner’s basis
of guilt concerning the confession thus any facts of innocence
solidified warrants relief for Petitioner’s § 2255 motion and that
the evaluator make a determination on whether Dr. Keith Hersh’s
diagnosis of “delusional disorder” was invalid, incorrect, or was
not applied correctly due to the circumstances at the time of such
diagnosis being made. Then the evaluator should also determine
whether that “delusional disorder” diagnosis should be ruled out.

(3.) Order that the Petitioner submit to the mental examination by

an independent evaluator that is to be picked by Lepage Associates

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Forensic Evaluation Services (forensic psychology) or by any other
mental evaluator approved by the Court and allowed by a Criminal
Justice Act (“CJA”) 21 Voucher to pay for expert any expert
witnesses under § 2255 cases. That in the event that the Court
doesn’t agree with the fee agreement, then the Court can make a
suggestion on what fee the CJA Voucher can be covered by the
Criminal Justice Act voucher.

(4.) Order that the suggested mental evaluation service be paid for
by a CJA 21 Voucher and that such evaluation be conducted for
the purposes set out in this pleading and any or all attached
supplements

(5.) Order that the previous mental examination reports by Dr.
Dawn Graney (See Document #17, “Psychiatric Report”) and Dr.
Keith Hersh (See Document #23, “Psychiatric Report”) Which are
sealed be released and disseminated to the evaluator for conducting
the court approved mental examination as per this motion

(6.) Order that the Pre-Sentence lnvestigation Report also under seal
be allowed to be released and disseminated to the evaluator for

conducting the court approved mental examination as per this

motion

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(7.) Order any other action, thing or matter that the Court deems
appropriate in the matter of this motion

(8.) That such mental examination is to determine whether any
psychological factors do demonstrate that Petitioner gave a false
confession which is a FACT of Innocence.

(9.) That such mental examination is to determine whether
Petitioner had really suffered from the diagnosis of “delusional
disorder” and whether that diagnosis should be ruled out as NON-
FACTUAL.

(10.) Order that the mental examination/ evaluation report be filed

under SEAL to comply with the rules and laws of this Court, once

the evaluation has reached its final conclusion

MOTION THA'I` THE COURT COMPEL ATTORNEY JOI'IN SCOTT
COALTER TO RELEASE TH]E CRIMINAL CASE DISCOVERY MATERIAL
TO THE MENTAL EVALUATOR AS FOR 'I`HE PURPOSE OF THE MENTAL
EXAMINATION

MOTION AND BRIEF IN SUPPORT OF THIS REQUEST

lf the first motion in this pleading is granted, then Petitioner asks that this second Motion

also be considered and granted Within this pleading

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NOW COMES the Petitioner, by and through Brian David Hill (“Brian D. Hill”,
“Plaintiff” or “Hill”), that is acting pro se and is proceeding pro se before this Honorable
Court in the Middle District of North Carolina, and hereby respectfully moves to request
that this Court is to compel Attorney John Scott Coalter (“Mr. Coalter”), the counsel of
record prior to the final sentencing, to disclose and disseminate a copy of the criminal
case discovery material in his possession over to the mental evaluator that is to conduct

the mental examination that the Court approves of for the § 2255 case.

The reasons why such request to compel is necessary is because the FACTS that (#1)
John Scott Coalter admitted to being in conflict of interest (See case Brian David Hill v.
Executive Office for United States Attorneys et al, Western District of Virginia, case #
4:17-cv-00027, Documents #12-5 (Filed 06/12/17), Pages 1 to 4 and #4-1 (Filed:
05/01/17), all pages).; (#2) John Scott Coalter had inappropriately and unethically
attempted to turn away counsel that had agreed to represent the Petitioner in his bid to
prove actual innocence after admitting that he was in conflict of interest on September
30, 2016 (See case Brian David Hill v. Executive Office for United States Attorneys et al,
Western District of Virginia, case # 4:17-cv-00027, Documents #12 and #12-1, Filed
06/12/17, all pages); and (#3) because John Scott Coalter had threatened to destroy the
discovery evidence by saying it may be destroyed after talking Attorney Emily Gladden
out of representing Petitioner for his actual innocence claim (See case Brian David Hill v.
Executive Office for United States Attorneys et al, Western District of Virginia, case #

4:17-cv-00027, Documents #2-8, Filed 04/25/17, all pages).

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Mr. Coalter admitted as outlined in the group Declaration that “Then as we were talking
Mr. Coalter told us that he could not represent Brian. "It would be a conflict of
interest”.” Even Without such admission or Declaration, Mr. Coalter would be in conflict
of interest due to the fact that he advised Petitioner of and led to not withdrawing the
guilty plea. Thus Mr. Coalter Would have to testify against Petitioner to overcome his
false guilty plea by proving ineffective assistance of counsel Thus it paints Mr. Coalter
in a negative light to overcome the procedural hurdles for both actual innocence and
ineffective assistance of counsel necessary to withdraw a guilty plea as involuntary

and/or unintelligent.

The FACTS presented in this SECOND MOTION demonstrate under good faith that Mr.
Coalter has stated that the discovery files may be destroyed (essentially what the
Petitioner assumes is that Mr. Coalter had threatened to destroy the discovery materials)
after unethically giving his opinions or advice to make Attorney Emily Gladden not want
to take the case after he admitted on September 30, 2016, that he was in conflict of
interest for Petitioner filing his 2255 motion He tried to assert Petitioner’s guilt even
though he admitted that he is not a computer expert and has no education in computers
Mr. Coalter is not a computer expert but yet asserts his belief in Petitioner’s guilt despite
not being an expert and no blurred thumbnails of any child pornography mare in the

discovery. Nothing confirmed as to each file of interest being of such material

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ln Petitioner’s and his families dealings with Mr. Coalter, Petitioner doesn’t feel

confident that he will permit turning over a copy of the discovery materials to the mental

evaluator to conduct a mental examination without a court order.

Under the Local Rules of Criminal Practice, the Local Rules for the Middle District of
North Carolina concerning criminal cases which Would also apply for § 2255 cases, it
stated that discovery material is limited to who it can be disseminated to but such

limitations do not apply to retained experts

Under this Court’s Local Rules of Criminal Practice, “LCrR16.2 LIMITATIONS

CONCERNING CRlMlNAL DISCOVERY” is stated the following:

(a) Any discovery materials (defined as all information contained within
discovery, regardless of whether such materials are defined as discovery under
Rule 16) that are provided by the United States to the defendant shall not be
further disseminated by the defendant or his or her counsel to any individuals,

organizations or other entities, except to the following degree:

(l.) To members of the defense team (the defendant, counsel paralegals,

investigators litigation support personnel and legal support staff);

(2.) To any experts or consultants retained to assist in the preparation of

the defense; and

(3.) To the Court.

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(b) Discovery materials are to be used by the defendant and his or her counsel
solely for the purpose of allowing the defendant to prepare the defense The
defendant, his or her counsel, and other members of the defense team shall not
disseminate, disclose or provide such discovery materials to anyone Who is not
necessary to the preparation of the defense In the event the defense team
desires to disseminate, disclose or provide such discovery materials to a party
not permitted by this local rule, the United States must first be so advised and
the parties must seek to reach an agreement on the matter. If an agreement
cannot be reached, defense counsel shall apply to the Court for relief.

(c) The defense team may display copies of discovery materials to non-expert
Witnesses if it is determined that such is necessary for the purpose of preparing
the defense, and the defense team may do so without notice to the United
States. However, the defense team may display copies of discovery materials
to such witnesses only in the presence of the defense team and only if such
witnesses agree to the confidentiality requirements set out in this rule Further,
witnesses shall not be permitted to maintain copies of discovery materials after

inspection.

This Local rules however does not have a provision in regards to the circumstance where
a Counsel of record is in “conflict of interest” where an expert witness can review over

the discovery evidence materials necessary for preparing for a defense

The defense is the affirmative defense of frame up or actual innocence

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If the expert witness has to be in any form of contact with Mr. Coalter to simply be
allowed to review over the discovery materials to prepare a mental examination report,
then Mr. Coalter must have minimal contact with the evaluator or be gag ordered to not
discuss the case and not to give any opinions about the case to the expert evaluator to
prevent the conflict of interest and at the same time comply with the Local Criminal Rule
in regards to discovery. Mr. Coalter could tamper with the evaluator while the evaluation
is being conducted or could fetter with the evaluator doing his/her job which impedes the

ability to conduct a mental examination needed for the 2255.

WHEREFORE, the Petitioner respectfully request that the Court:

(l .) Grant this Second “MOTION THAT THE COURT COl\/[PEL
ATTORNEY JOHN SCOTT COALTER TO RELEASE THE
CRIMINAL CASE DISCOVERY MATERIAL TO THE
MENTAL EVALUATOR AS FOR THE PURPOSE OF THE
MENTAL EXAM]NATION”;

(2.) Enter a gag order or protective order on John Scott Coalter to
not give his opinions on Petitioner’s criminal case, not discuss the
criminal case, other than simply to give the evaluator access to the
discovery material necessary for such mental examination That
since he is in conflict of interest but the Local Rules of Criminal
Practice also have be followed, the only solution is for Mr. Coalter

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to not be allowed to verbally discuss the case in any way with the
evaluator that needs to gain access to such discovery materials to
prevent potential influence, witness tampering, or any other
unethical behavior that would jeopardize the evaluation being
independent, fair, impartial, and unbiased. Mr. Coalter is only to
provide the discovery material, inform the evaluator of the Local
Rule and any other confidentiality information as required by law
or rule, but not discuss the case and not talk about the case That he
be enjoined from giving personal opinions, advice, and discussion
about the case that would influence and/or unethically talk the
mental examination evaluator out of conducting the evaluation;

(3.) Order that Mr. Coalter allow the evaluator be given full access
to the discovery material necessary for preparing a
psychiatric/mental examination report for the purpose as set out in
the first MOTION of this pleading That Mr. Coalter under no
circumstances should the block the evaluator from access to the
discovery material without seeking a court order to do so. That Mr.
Coalter not impede interfere with, manipulate, tamper with, or
take any other action that is unethical in regards to the mental

examination requested by Petitioner That the full access to the

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discovery materials include the North Carolina State Bureau of
lnvestigation case file report on suspect: Brian David Hill, and the

Mayodan Police audio recording containing the confession of

Brian David Hill on August 29, 2012.

WHEREFORE, the Petitioner respectfully requests that the Court grant both motions in
this pleading, and, after affording the Government time to respond or file any extensions
for more time to review over this pleading and make a response, to make a decision as
soon as possible on the issue of mental examination To enjoin Mr. Coalter from
engaging in any unethical behavior in regards to the evaluator and mental examination if
authorized by this Court, including that he not be allowed to discuss the case and give
opinions which may influence the evaluator in Mr. Coalter’s favor. That the evaluation
remain neutral, independent, and impartial. That the Government have an opportunity to
cross examine the expert witness as allowed by the U.S. Constitution and due process
unless Government waives their right to cross examine the mental examination expert.
Petitioner only wants to ensure that the mental examination, if granted by this Court, is

conducted as impartial, as credible, and as fair as possible

Therefore for all of the foregoing reasons as stated above, I recommend to the
Habeas Court that “PETITIONER’S MOTION F()R REQUESTING
PSYCHOLOGICAL/PSYCI-IIATRIC EVALUATION 'I`O DETERMINE ACTUAL
INNOCENCE FACTOR UNDER FALSE CONFESSI()N ELEMENT AND TO
RESOLVE THE CONTROVERSY/CONFLICT BETWEEN GOVERNMENT
AND PETITIONER OVER “DELUSIONAL DISOR])ER”” be granted and that the

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Petitioner’s “MOTION THAT THE COURT COMPEL ATTORNEY JOHN
SCOTT COALTER TO RELEASE THE CRIMINAL CASE DISCOVERY
MATERIAL TO THE MENTAL EVALUATOR AS FOR THE PURPOSE OF
THE MENTAL EXAMINATION” also be granted.

Respectfully submitted,

Signed on: EEM:? n Ei,'£?
LF]_L-/`rl€ 22/ wg lyng Slgned
/

Brian D. Hill (Pro Se)

310 Forest Street, Apartment 2
Martinsville, VA 24112

Phone #: (276) 790~3505

UBWG.O.

 

This RESPONSE is respectfully filed with the Court, This the 23rd day of June, 2018.

Petitioner also requests with the Court that a copy of this ”PET|T|ONER'S lVlOT|ON FOR
REQUEST|NG PSYCHOLOG|CAL/PS¥CH|ATR|C EVALUAT|ON TO DETERN||NE ACTUAL |NNOCENCE
FACTOR UNDER FALSE CONFESS|ON ELEMENT AND TO RESOLVE THE CONTROVERSY/CONFLICT
BETWEEN GOVERNMENT AND PET|T|ONER OVER "DELUSIONAL D|SORDER”” and ”MOTION
THAT THE COURT COMPEL A'|'|'ORNEY JOHN SCOT|' COALTER TO RELEASE THE CR|IV|INAL CASE
D|SCOVERY MATER|AL TO THE MENTAL EVALUATOR AS FOR THE PURPOSE OF THE |V|ENTAL
EXAMINAT|ON” be served upon the Government as stated in 28 U.§.C. §1915(d), that “The

officers of the court shall issue and serve all p_rocessE and perform all duties in such cases,

Witnesses shall attend as in other cases, and the same remedies shall be available as are

 

provided for_by law in other cases. P|aintiff requests that copies be served With the U.S.
Attornev office of Greensboro, NC and AUSA Anand Prakash Ramaswamv and AUSA Ange|a
Hew|ett N|i||er via CM/ECF Notice of E|ectronic Filing l”NEF”) emai|, bv facsimile if the

Government consents, or upon U.S. lVlai|. Thank You!

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CERTIFICATE OF SERVICE

Petitioner hereby certifies that on June 23, 2018, service was made by mailing the

original of the foregoing:

“PETITIONER’S MOTION FOR REQUESTING
PSYCHOLOGICAL/PSYCHIATRIC EVALUATION TO DETERMINE
ACTUAL INNOCENCE FACTOR UNDER FALSE CONFESSION
ELEMENT AND TO RESOLVE THE CONTROVERSY/CONFLICT
BETWEEN GOVERNMENT AND PETITIONER OVER “DELUSIONAL
DIS()RDER””

And
“MOTION THAT THE COURT COMPEL ATTORNEY JOHN SCOTT
COALTER T() RELEASE THE CRIMINAL CASE DISCOVERY
MATERIAL TO THE MENTAL EVALUATOR AS FOR THE PURPOSE
OF THE MENTAL EXAMINATION”

by deposit in the United States Post Office, in an envelope, Priority Mail, Postage
prepaid under certified mail tracking no. 7016-0600-0000-8319-9213, on June 23,
2018 addressed to the Clerk of the Court in the U.S. District Court, for the Middle
District of North Carolina, 324 West Market Street, Suite 1, Greensboro, NC 27401.
Then pursuant to 28 U.S.C. §1915(d), Petitioner requests that the Clerk of the Court
move to electronically file the foregoing using the CM/ECF system which will send

notification of such filing to the following parties to be served in this action:

 

 

 

 

 

Anand Prakash Ramaswamy Angela Hewlett Miller
U.S. Attorney Office U.S. Attorney Office
Civil Case # l:17-cv-1036 Civil Case # 1:17-cv-1036
101 South Edgeworth Street, 4th 101 South Edgeworth Street, 4th
Floor, Greensboro, NC 27401 Floor, Greensboro, NC 27 401
Anand.Ramaswamv@usdoi.gL angela.miller@usdoi.gov
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This is pursuant to Defendant's “In forma Pauperis” (“IFP”) status, 28 U.S.C. §1915(d)
that “The officers of the court shall issue and serve all process, and perform all duties in
such cases..."the Clerk shall serve process via CM/ECF to serve process with all parties.

 

 

 

 

Date of signing: Respectfully submitted,
june Z?. ZV_ZB _ r/'MD. /f'//
/ Wigned

Brian D. Hill (Pro Se)

310 Forest Street, Apartment 2
Martinsville, VA 24112

Phone #: (276) 790~3505

 

 

 

Brian David Hill v. United States of America | Criminal Action No. l:lB-cr-435-l

Civil Action No. l:l7-cv-01036

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